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     1                           UNITED STA TES D ISTR ICT COURT
                                      D ISTRICT OF NEVADA
     2

     3    UNITED STATES OF AMERICA,          )
                       Plaintiff,            )
     4                                       ) Case No . 2 :07-cr-l45-KJD-PM
                   vs .                      )
     5                                       )        O R D E R
          DANIEL J . EGAN                    )
     6                  Defendant .          )
     7

     8               On September 5, 2012 , this Court received a request

     9 from Felicia Zabin, Court Reporter, for a transcript of the

    10 Seaied Side ar Conference which took place on 9/l7/2008 .
    l1               IT IS THEREFORE ORDERED that the reporter notes of said

    12 hearing shall be unsealed for the lim ited purpose of providing

    13 the transcript as requested by DM IEL J . ENAH # PRO SE . The

    14 original reporter notes shall thereafter be resealed, together

    15 with the certified copy of the transcript delivered to the Clerk

    16 pursuant to 28 U .S .C . 5753 (b), until further order of this
    17   Court .

    18               IT IS FURTHER ORDERED that Felicia Zabin , Court

    19 Reporter, shall not disclose the contents of the transcript of

    20 the sealed proceeding to anyone other than the parties or

    21 representatives of the parties directly concerned w ith this

    22 case .

    23             DATED this    QZG day of Sw.t
                                            ..  -          , 2012.

    24
                                              KENT J . DAWSON
    25                                        United states District Judge
